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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )         4:08CR3038-2
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )         ORDER
YESENIA MILLAN GONZALEZ,                    )
                                            )
                    Defendant.              )

        Due to an emergency, Chief Judge Bataillon has assigned a case to the undersigned
for trial in Omaha starting on September 29, 2008. Therefore, on the court’s own motion,

       IT IS ORDERED that Defendant Gonzalez’s sentencing is continued to Friday,
October 10, 2008, at 9:30 a.m., before the undersigned United States district judge, in
Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      September 23, 2008.                BY THE COURT:


                                         s/ Richard G. Kopf
                                         United States District Judge
